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                               UNITED STATES BANKRUPTCY COURT
 1                                 DISTRICT OF CONNECTICUT
 2
     In re:                                              Case No. 18-51587
 3                                                       Chapter 7
     ERICA L. GARBATINI,
 4
                    Debtor,
 5
      ALEX E. JONES, FREE SPEECH                           Adv. Case No.
 6    SYSTEMS, LLC, INFOWARS, LLC,
      INFOWARS HEALTH, LLC, and PRISON
 7    PLANET TV, LLC,                                      COMPLAINT OBJECTING TO
                                                           DISCHARGEABILITY PURSUANT TO
 8                            Plaintiffs,                  11 U.S.C. § 523(A)(6)
 9             v.

10    ERICA L. GARBATINI a/k/a Erica Lafferty,

11 Defendant.

12
              Plaintiffs-Creditors Alex E. Jones, Free Speech Systems, LLC, Infowars, LLC, Infowars
13
     Health, LLC, and Prison Planet TV, LLC (collectively “Plaintiffs”) bring the following Complaint
14
     objecting to discharge of debt pursuant to 11 U.S.C. § 523(a)(6) against Defendant-Debtor Erica
15
     L. Garbatini a/k/a Erica Lafferty (“Defendant”) and, in support of their Complaint, allege and state
16
     as follows:
17
                                               THE PARTIES
18
              1.     Plaintiff-Creditor Alex E. Jones is a citizen of the State of Texas residing in Travis
19
     County, Texas.
20
              2.     Plaintiff-Creditor Free Speech Systems, LLC, is a Texas limited liability company
21
     with a principal place of business in Austin, Travis County, Texas.
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              3.     Plaintiff-Creditor Infowars, LLC, is a Texas limited liability company with a
23
     principal place of business in Austin, Travis County, Texas.
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 1           4.     Plaintiff-Creditor Infowars Health, LLC, is a Texas limited liability company with

 2 a principal place of business in Austin, Travis County, Texas.

 3           5.     Plaintiff-Creditor Prison Planet TV, LLC, is a Texas limited liability company with

 4 a principal place of business in Austin, Travis County, Texas.

 5           6.     Defendant-Debtor Erica L. Garbatini a/k/a Erica Lafferty is an individual who, on

 6 information and belief, resides in Watertown, Litchfield County, Connecticut.

 7                                   JURISDICTION AND VENUE

 8           7.     This Court has jurisdiction of this matter under 28 U.S.C. § 157 and 11 U.S.C. §

 9 523. The claims for relief alleged in this complaint rise under Title 11 of the United States Code

10 and are related to a case pending in the United States Bankruptcy Court for the District of

11 Connecticut (the “Bankruptcy Court”). The pending bankruptcy case to which the claims for relief

12 alleged in this Complaint are related to In re Erica L. Garbitini, Bk Case No. 18-51587 (the

13 “Garbatini Case”).

14           8.     The determination of dischargeability is a core proceeding under 28 U.S.C. §

15 157(b).

16           9.     Pursuant to 28 U.S.C. § 1409, venue is proper in the District of Connecticut,

17 because the Garbatini Case is pending in this district and division.

18           10.    Defendant Erica L. Garbatini is a debtor in the Garbatini Case.

19                               FACTS COMMON TO ALL CLAIMS

20           11.    At all relevant times herein, Plaintiff Alex Jones was the owner and member of

21 Plaintiffs Free Speech Systems, LLC, Infowars, LLC, Infowars Health, LLC, and Prison Planet
22 TV, LLC.

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 1           12.    At all times relevant herein, Free Speech Systems, LLC, owned and operated the

 2 website at the Infowars.com and PrisonPlanetTV.com domains, and conducted business (including

 3 broadcasting and publishing radio and internet shows) under the trade name “Infowars”.

 4           13.    At all times relevant herein, Infowars, LLC, Infowars Health, LLC, and Prison

 5 Planet TV, LLC, did not publish any content on any website and did not broadcast or otherwise

 6 disseminate radio or internet shows.

 7           14.    On or about May 23, 2018, Defendant initiated a Complaint against Plaintiffs and

 8 others in the Superior Court of the State of Connecticut in the Judicial District of Fairfield at

 9 Bridgeport, presently docketed as Case No. UWY-CV18-6046436-S in the Complex Litigation

10 Docket at Waterbury, and styled as Lafferty, et al. v. Jones, et al. (the “State Court Case”).

11           15.    In the State Court Case, Defendant alleged five causes of action against Plaintiffs:

12 1) Invasion of Privacy by False Light; Civil Conspiracy; 2) Defamation and Defamation per se;

13 Civil Conspiracy; 3) Intention Infliction of Emotional Distress; Civil Conspiracy; 4) Negligent

14 Infliction of Emotional Distress; Civil Conspiracy; and 5) Connecticut Unfair Trade Practices Act,

15 Conn. Gen. Stat. § 42-110a et seq.

16           16.    Each of the five counts arose from alleged statements made or published on

17 “Infowars” branded programming or website(s) by Alex Jones, state court defendant Wolfgang

18 Halbig, employees or contractors of Free Speech Systems, LLC, and others.
19           17.    The alleged statements were all on matters of public concern, namely the December

20 14, 2012, tragic murders of students and educators at Sandy Hook Elementary School (the

21 “attack”).
22           18.    Immediately after the attack, politicians and lobbyists began to use it for political

23 purposes.

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 1          19.     The alleged statements at issue in the State Court Case questioned the official

 2 narrative of the attack, raising concerns as to official FBI statistics, denial of ordinary access to

 3 investigatory materials, broadcast irregularities, conflicting reports, and whether the attack was

 4 being used for political purposes. Because of the political abuse of the attack, some of the

 5 statements at issue questioned whether all or part of the official narrative of the attack was true.

 6          20.     Some politicians used the attack to portray themselves in the media (and at least

 7 once, apparently falsely so) as being there to comfort grieving families.

 8          21.     Politicians and lobbyists used the attack to promote gun control legislation and raise

 9 funds in support thereof.

10          22.     Politicians and lobbyists used the attack to restrict the public’s (including the

11 media’s) access to government records.

12          23.     Defendant is the daughter of Dawn Hochsprung, the principal of Sandy Hook

13 Elementary School who was killed in the attack.

14          24.     Defendant used her status as a grieving family member to stump for Hillary Clinton

15 in her presidential campaign, including speaking at the 2016 Democratic National Convention.

16          25.     Defendant used her status as a grieving family member to pen a politically-charged,

17 controversial letter, published in USA Today, to then President-Elect Donald Trump.

18          26.     Prior to the commencement of the State Court Case, Mr. Jones publicly stated that

19 he believed that the attack did occur as reported by the national news, notwithstanding his prior

20 concerns.

21          27.     Despite this public statement, Defendant nonetheless commenced litigation to

22 spuriously claim damages over the alleged statements.

23          28.     Defendant’s claims against Plaintiffs in the State Court Case are without merit.

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 1           29.    The First Amendment squarely protects the right of citizens to question official

 2 narratives of high-profile matters like the Gulf of Tonkin “incident”, Operation Northwoods,

 3 MKUltra, the Iran-Contra affair, and the Tuskegee Study. The Sandy Hook attack is no less a

 4 matter of public concern.

 5           30.    Defendant commenced and prosecuted her claims against Plaintiffs in the State

 6 Court Case without probable cause.

 7           31.    Defendant commenced and prosecuted her claims against Plaintiffs in the State

 8 Court Case with a malicious intent unjustly to vex and trouble them.

 9           32.    The State Court Case is reasonably expected to terminate in Plaintiffs’ favor.

10           33.    Defendant’s commencement and prosecution of her claims against Plaintiffs in the

11 State Court Case, therefore, constitutes vexatious litigation under Conn. Gen. Stat. § 52-568.

12           34.    As a proximate result of Defendant’s vexatious litigation against Plaintiffs,

13 Plaintiffs have incurred damages, including reasonable attorneys’ fees and litigation expenses.

14           35.    During the course of the State Court Case, Defendant has used that action to

15 unjustly and unreasonably invade the business operations and finances of Plaintiffs.

16           36.    Upon information and belief, Defendant intended to use the State Court Case to

17 suppress and chill Plaintiffs’ political speech, a purpose for which litigation is not designed.

18           37.    Defendant’s prosecution of the State Court Case therefore, constitutes an abuse of

19 process.

20           38.    As a proximate result of Defendant’s abuse of process against Plaintiffs, Plaintiffs

21 have incurred damages, including reasonable attorneys’ fees and litigation expenses.
22           39.    During the course of the State Court Case, Plaintiffs filed a Special Motion to

23 Dismiss pursuant to Conn. Gen. Stat. § 52-196a (the Connecticut anti-SLAPP law).

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 1           40.    That special motion to dismiss was terminated for reasons unrelated to the merits

 2 thereof.

 3           41.    At the time the motion was terminated, the State Court lacked subject matter

 4 jurisdiction over Defendant’s claims.

 5           42.    As a result, the termination of the motion is reasonably expected to be vacated and

 6 Plaintiffs are reasonably expected to be prevailing parties entitled to recover reasonable attorneys’

 7 fees and litigation expenses.

 8           43.    As the State Court Case is otherwise reasonably expected to terminate in Plaintiffs’

 9 favor, they are entitled to recover taxable costs.

10

11                                              COUNT ONE

12    FOR DETERMINATION OF NON-DISCHARGEABILITY OF DEBT UNDER 11 U.S.C.

13    § 523(A)(6) ARISING FROM VEXATIOUS LITIGATION, ABUSE OF PROCESS, AND

14                   VIOLATION OF THE CONNECTICUT ANTI-SLAPP LAW

15           44.    Plaintiffs repeat and re-allege each of the foregoing paragraphs as if set forth fully

16 herein.

17           45.    As set forth above, in commencing and prosecuting the State Court Case against

18 Plaintiffs, without probable cause, with a malicious intent unjustly to vex and trouble them,
19 Defendant is liable to Plaintiffs for vexatious litigation under Conn. Gen. Stat. § 52-568

20           46.    As set forth above, Defendant used the State Court Case action to unjustly and

21 unreasonably invade the business operations and finances of Plaintiffs, with the intent to use the
22 State Court Case to suppress and chill Plaintiffs’ political speech, a purpose for which litigation is

23 not designed, thereby abusing process against Plaintiffs.

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 1            47.   As set forth above, the State Court Case was filed by Defendant against Plaintiffs

 2 based on their alleged exercise of free speech rights in connection with a matter of public concern

 3 without probable cause, constituting a SLAPP suit under Conn. Gen. Stat. § 52-196a.

 4            48.   Defendant’s vexatious litigation, abuse of process, and filing of a SLAPP suit was

 5 willful.

 6            49.   Defendant’s vexatious litigation, abuse of process, and filing of a SLAPP suit was

 7 malicious.

 8            50.   As a direct and proximate result of the foregoing, Plaintiffs have suffered damages

 9 not presently ascertained at trial, but believed to be at least $500,000.

10            51.   In view of the foregoing, Plaintiffs therefore seek an order under 11 U.S.C. §

11 523(a)(6) determining that (1) Plaintiffs are entitled to actual, presumed, punitive, and other

12 damages in an amount to be specifically determined at trial; and (2) that said liability is non-

13 dischargeable.

14                                        PRAYER FOR RELIEF

15            WHEREFORE, Plaintiffs pray for judgment against Defendant as follows:

16                  (1)     For actual, presumed, and punitive damages in an amount to be specifically

17                          determined at trial; and

18                  (2)     For costs, disbursements, fees, and interest as authorized by state and

19                          Federal Law and Rules;

20                  (3)     For a decree that all debts determined to be owing by Defendant to Plaintiffs

21                          which are the subject of this action are deemed and adjudicated to be non-

22                          dischargeable pursuant to 11 U.S.C. § 523(a)(6); and

23                  (4)     For such other and additional remedies as the Court may deem just and

24                          proper.

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     Dated: September 13, 2021.                   Respectfully submitted,
 1                                                /s/ Jay M. Wolman_______________
                                                  Jay M. Wolman – ct29129 of
 2
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                                                  Health, LLC, & Prison Planet TV, LLC
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